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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

MATT DINERSTEIN, individually and on               )
behalf of all others similarly situated,           )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )
                                                   )
GOOGLE, LLC, a Delaware limited                    )   No. 19 C 4311
liability company, THE UNIVERSITY                  )
OF CHICAGO MEDICAL CENTER, an                      )   Judge Rebecca R. Pallmeyer
Illinois not-for-profit corporation, and           )
THE UNIVERSITY OF CHICAGO, an                      )
Illinois not-for-profit corporation,               )
                                                   )
                       Defendants.                 )

                             MEMORANDUM OPINION AND ORDER

       In 2017, Defendants The University of Chicago and The University of Chicago Medical

Center (collectively “the University”) and Google began a research partnership in which they used

machine-learning techniques to create predictive health models aimed at reducing hospital

readmissions and anticipating future medical events. As part of this research, the University

disclosed to Google the “de-identified” electronic health records of all adult patients treated at its

hospital from January 1, 2010 through June 30, 2016. Plaintiff Matt Dinerstein was an inpatient

at the University in June 2015 and, asserting a variety of state-law claims, brings this suit pursuant

to the Class Action Fairness Act (“CAFA”) on behalf of all patients whose medical information was

disclosed for Defendants’ research. The University and Google have both filed motions to dismiss

[43, 45]. In addition, the University has moved to strike the class allegations [49]. For the following

reasons, Defendants’ motions to dismiss are granted, and the University’s motion to strike is

terminated as moot.

                                          BACKGROUND

       The amended class action complaint (“AC”) [42] alleges the following facts, assumed true

for the purposes of this analysis. Plaintiff Matt Dinerstein had two separate hospital stays as a

patient at the University’s hospital in June 2015. (AC ¶ 92.) Each stay lasted for a few days (id.),
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and Plaintiff paid premiums and other fees to health insurers who provided coverage for the

treatment and services he received. (Id. ¶ 98.) During his stays at the hospital and throughout

2015, Mr. Dinerstein maintained an account with Defendant Google and used a smartphone with

Google applications on it, which, he alleges, collected and transmitted to Google his geolocation

information. (Id. ¶ 94.) Also during these stays, the University generated and maintained health

records for Plaintiff, which included such sensitive information as his demographic data, vital

signs, diagnoses, procedures, and prescriptions. (Id. ¶ 93.) Mr. Dinerstein received two forms

relevant to this sensitive information: the Admission and Outpatient Agreement and Authorization

form, and the Notice of Privacy Practices. (Id. ¶ 61.)

       The Admission and Outpatient Agreement and Authorization (“the Authorization”), a copy

of which was attached as an exhibit to the amended complaint, contains two paragraphs relevant

to the present dispute:

       I understand and agree that my medical information in any form and any tissue,
       fluids, cells and other specimens that may be collected during this hospitalization
       and/or period of treatment may be used and shared for research that has been
       approved by the University of Chicago Institutional Review Board (IRB) and that
       has been found to pose a minimal risk. I acknowledge that such research by the
       University of Chicago Medical Center may have commercial value and, in that
       event, I understand that I will not be entitled to any compensation, regardless of
       the value of such research or any products or inventions developed therefrom.

       I understand that all efforts will be made to protect my privacy and that any use of
       my medical information will be in compliance with federal and state laws, including
       all laws that govern patient confidentiality, and the University of Chicago Medical
       Center Notice of Privacy Practices. I further understand that my identity and the
       identity of my medical records will not be included in any research findings or
       reports.

(Outpatient Agreement & Authorization § III, Ex. 2 to AC [42-2].) See FED. R. CIV. P. 10(c) (“A

copy of a written instrument that is an exhibit to a pleading is a part of the pleading for all

purposes.”).

       The Notice of Privacy Practices (“the NPP”) contains the following provisions that are also

important to the instant case:

       We respect the privacy of your medical information. Each time you visit us, we
       record information about the care you receive, including external information we
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       receive about your health care and information to seek payment for our services
       (your “medical information”). This medical information is also called your
       “Protected Health Information”) (“PHI”). These records may be kept on paper,
       electronically on a computer, or stored by other media.

       [The University Chicago Medical Center (“UCMC”)] is required by law to:

             •   Maintain the privacy and security of your PHI;
             •   Notify you following a breach of your unsecured PHI, if required by law;
             •   Provide this Notice to you and describe the ways we may use and share
                 your PHI;
             •   Notify you of your rights regarding your PHI;
             •   Follow the terms of this Notice.

       ...

       We perform research at UCMC. Our researchers may use or share your
       information without your authorization (a) if the group that oversees research gives
       them permission to do so, (b) if the patient data is being used to prepare for a
       research study, or (c) if the research is limited to data of deceased patients.

       ...

       We will not use or share your medical information for any reason other than those
       described in this Notice without a written authorization signed by you or your
       personal representative. An authorization is a document that you sign that directs
       us to use or disclose specific information for a specific purpose. . . .
       We will obtain your written permission:

       ...

             •   For the sale of your medical information.

(NPP at 1–2, 4, 5, Ex. 1 to Univ. Mem. in Supp. of Mot. to Dismiss [44-1].) 1

       In May 2017, Google announced that it had partnered with the University to use “machine

learning” to identify patients’ health problems and predict future medical events. (AC ¶ 58.) To

conduct this study, the University transferred electronic health records (“EHRs”) to Google. (Id.

¶ 59.) This transfer was made pursuant to a December 2016 Data Use Agreement (“DUA”) under

which the University would transfer to Google the EHRs of every patient, age eighteen or older,




       1       Unlike the Authorization, Plaintiff did not include the NPP as an exhibit to the
amended complaint. The court may nevertheless consider the document as part of the pleadings
because Plaintiff referred to it in the amended complaint and the University has included it with
the motion to dismiss. See Feigl v. Ecolab, Inc., 280 F. Supp. 2d 846, 848–49 (N.D. Ill. 2003).
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who used the University’s outpatient, inpatient, or emergency services between January 1, 2010

and June 30, 2016. (Id. ¶ 66; see DUA at 9, Ex. 1 to AC [42-1].) Google has submitted a patent

application for a system that aggregates EHR data and uses machine learning on those records

to predict future medical events. (AC ¶ 54.) The patent application’s abstract further describes

the invention as providing an interface for healthcare providers to see past and predicted future

medical events for a patient. See U.S. Patent Publication No. US2019/0034591. According to

the amended complaint, by submitting the patent application in 2017, Google “demonstrat[ed] its

clear intent to commercialize the University’s medical records prior to obtaining them.” (AC ¶ 54.)

       Plaintiff alleges that while Google retains all rights to the software created using the EHRs,

the DUA granted the University a perpetual license to use that software. (Id. ¶ 66.) Google

disputes this characterization of the DUA. (Google Mem. in Supp. of Mot. to Dismiss [46] at 3

n.3.) In fact, it is not apparent to the court what exactly has been granted to the University. See

Bytska v. Swiss Int'l Air Lines, Ltd., No. 15 C 483, 2016 WL 792314, at *3 (N.D. Ill. Mar. 1, 2016)

(explaining that if “an exhibit incontrovertibly contradicts the allegations in the complaint, the

exhibit ordinarily controls, even when considering a motion to dismiss”). The DUA grants to the

University, “for internal non-commercial research purposes,” “a nonexclusive, perpetual license

to use the [ ] Trained Models and Predictions” created by Google. (DUA § 3.12.) The Trained

Model refers to the model created via machine learning conducted on the EHRs, and Predictions

are the results of the model’s computations. Specifically, the DUA defines “Trained Model” as

“the Model parameters arranged in accordance with the Model’s mathematical form,” which are

determined by using “the Limited Data Set”—the EHRs disclosed by the University to Google—

“as Input Data” to “train” the Model. (Id. § 1.12.) Training a model means “using Model Software

to create Model parameters for a Model form using Input Data.” (Id. § 1.12.) And the “Model

Software” is “used to Train a Model and compute Predictions,” (id. § 1.7), where “Predictions” are

the outputs “of a Model for a given set of Input Data.” (Id. § 1.6.)



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       In early 2018, Defendants published a study discussing the results of their research and

methodology. (AC ¶ 64; see Alvin Rajkomar et al., Scalable and Accurate Deep Learning with

Electronic Health Records, 1 NPJ Digital Media (January 2018), https://www.nature.com

/articles/s41746-018-0029-1 (last visited Sept. 1, 2020).) The article explains that the study used

EHRs provided by Defendant University and the University of California, San Francisco (“UCSF”)

that included the following “de-identified” information: “patient demographics, provider orders,

diagnoses, procedures, medications, laboratory values, vital signs, and flowsheet data . . . from

all inpatient and outpatient encounters.” (Rajkomar et al., Scalable and Accurate Deep Learning

at 6.) The article notes that Defendant University—but not UCSF—included the “dates of service”

as well as “free-text medical notes” in the EHRs provided to Google. (Id.) According to Plaintiff,

disclosing such information is a prima facie violation of the Healthcare Insurance Portability and

Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936 (1996). (AC ¶ 67.)

These records were not, the amended complaint alleges, sufficiently anonymized, and therefore

put patient privacy at risk. (Id. ¶ 68.) The amended complaint points out that at a 2017 conference

hosted by Google, the University’s Associate Chief Research Informatics Officer himself said that

protecting patient anonymity in free-text notes requires not only making certain redactions but

actually changing information like a patient’s age and other biographical information. (Id. ¶ 69.)

Yet the parties’ DUA provides that the University would share patients’ ages with Google. (Id.)

And the free-text notes shared with Google are alleged to have not been sufficiently redacted or

anonymized. (Id.) Plaintiff claims that free-text notes “are normally not included in de-identified

medical records,” and also “create an enormous wealth of data re-identifying the patients

themselves.” (Id. ¶ 88.) According to the amended complaint, whatever process was used to

redact these notes was not properly audited or independently verified. (Id. ¶ 89.)

       These disclosures, Plaintiff alleges, violate HIPAA because the University either did not

make an expert determination that the risk of re-identifying the data was very small or, if such a



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determination was made, it was incorrect. 2 (Id. ¶ 70.) Plaintiff suggests that the risk of re-

identification was in fact substantial because of the information Google already possesses about

individuals through the other services it provides. 3 Specifically, the amended complaint refers to

Google as “one of the largest and most comprehensive data mining companies in the world,

drawing data from thousands of sources and compiling information about individuals’ personal

traits (gender, age, sexuality, race), personal habits, purchases, and associations.” (Id. ¶ 76).

Google has “create[d] detailed profiles of millions of Americans,” including public and nonpublic

information, and “possess[es] detailed geolocation information that it can use to pinpoint and

match exactly when certain people entered and visited the University’s hospital,” according to the

amended complaint. (Id. ¶¶ 77–78, 80.) In fact, for a user of Google applications like Mr.

Dinerstein, Google can track the specific University hospital buildings or departments he visited

and the time of his visits. (Id. ¶¶ 84–85.) Plaintiff alleges that the combination of such geolocation

information and the EHRs, which include the date and time of hospital services, “creates a perfect

formulation of data points for Google to identify who the patients in those records really are.” (Id.

¶ 87.) The amended complaint does not allege, however, that Google has in fact used its

extensive data to re-identify any EHRs.



       2        Under HIPAA regulations, one method for a “[a] covered entity [to] determine that
health information is not individually identifiable health information” is if “[a] person with
appropriate knowledge of and experience with generally accepted statistical and scientific
principles and methods for rendering information not individually identifiable: (i) [a]pplying such
principles and methods, determines that the risk is very small that the information could be used,
alone or in combination with other reasonably available information, by an anticipated recipient to
identify an individual who is a subject of the information; and (ii) [d]ocuments the methods and
results of the analysis that justify such determination.” 45 C.F.R. § 164.514(b)(1).
       3       In fact, the amended complaint cites studies showing that researchers without
Google’s extensive resources are able to re-identify medical records at high rates. (AC ¶¶ 72–73
(discussing Latanya Sweeney, Matching Known Patients to Health Records in Washington State,
HARVARD UNIV., http://dataprivacylab.org/projects/wa/1089-1.pdf (last visited Sept. 1, 2020) (re-
identifying 43 percent of patients); then discussing Linda Carroll, Anonymous Patient Data May
Not     Be    as    Private    as    Previously    Thought,    REUTERS      (Dec.    21,   2018),
http://news.yahoo.com/anonymous-patient-data-may-not-private-previously-thought-
190248280.html (last visited Sept. 1, 2020) (reporting on a study that re-identified 95 percent of
adult patient EHRs based on physical activity data collected via movement trackers like Fitbit).)
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                                                 ***

        Mr. Dinerstein brings this action on behalf of himself and all individuals in the United States

whose EHRs were transferred by the University to Google. (Id. ¶ 99.) According to the amended

complaint (id. ¶ 18), the court has jurisdiction under CAFA because at least one member of the

proposed class is a citizen of a different state than Defendants and the amount in controversy

exceeds $5,000,000. 28 U.S.C. § 1332(d)(2). Plaintiff asserts several causes of action on behalf

of himself and the class: Against the University, he brings claims for violating the Illinois Consumer

Fraud and Deceptive Business Practices Act (“ICFA”), 815 ILCS 505/1 et seq. (Count I), breach

of express contract (Count II), breach of implied contract (Count III), and unjust enrichment

(Count VII). Against Google, he asserts claims for tortious interference with contract (Count IV)

and unjust enrichment (Count VI). And he asserts a claim for intrusion upon seclusion against

both Defendants (Count V).

        The University and Google have both filed motions to dismiss [43, 45], contending that

Plaintiff lacks standing and has failed to state a claim upon which relief can be granted. See

FED. R. CIV. P. 12(b)(1), (6). The University has also filed a motion to strike Plaintiff’s class

allegations [49] on the grounds that Plaintiff’s counsel has a conflict of interest that disqualifies

him from representing the class. As the court discusses below, the court finds that Plaintiff lacks

standing to pursue one of his asserted claims and dismisses the rest of the complaint under

Rule 12(b)(6). The University’s motion to strike class allegations is terminated as moot.

                                            DISCUSSION

I.      Subject Matter Jurisdiction

        A motion to dismiss for lack of standing tests the jurisdictional sufficiency of the complaint.

FED. R. CIV. P. 12(b)(1). Both Defendants present facial challenges to the court’s subject matter

jurisdiction (see Univ. Mem. in Supp. of Mot. to Dismiss [44] at 4–8; Google Mem. In Supp. of

Mot. to Dismiss at 5–6), arguing that Mr. Dinerstein has not adequately alleged a basis for

standing in his amended complaint. Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015). In

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reviewing such a challenge, the court must accept all well-pleaded factual allegations as true and

draw all reasonable inferences in favor of Plaintiff. 4 Id. Article III standing requires a plaintiff to

“demonstrate (1) that he or she suffered an injury in fact that is concrete, particularized, and actual

or imminent, (2) that the injury was caused by the defendant, and (3) that the injury would likely

be redressed by the requested judicial relief.” Thole v. U. S. Bank N.A., 140 S. Ct. 1615, 1618

(2020) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “To establish injury in fact,

a plaintiff must show that he or she suffered ‘an invasion of a legally protected interest’ that is

‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (quoting Lujan, 504 U.S. at 560). Plaintiff has

identified three injuries that he claims satisfy this standard, while Defendants contend that none

is sufficient to confer him standing. The court addresses the claimed injuries in turn.

        A.      Breach of Contract

        First, Plaintiff argues that he has standing because he alleged that the University breached

a contract—namely, the promises the University made in the Authorization and NPP he received

when admitted to the hospital. (See Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss [65] at 5.) An

alleged breach of contract, Mr. Dinerstein insists, confers Article III standing even if the breach is

not claimed to have resulted in any “monetary loss or other concrete harm.” (Id. at 4–5 (quoting

J.P. Morgan Chase Bank, N.A. v. McDonald, 760 F.3d 646, 650–51 (7th Cir. 2014).) The

University responds that such an injury is purely a legal one and hence neither concrete nor even

an injury in fact. (Univ. Reply Mem. in Supp. of Mot. to Dismiss [71] at 1–2 (citing Spokeo, 136

S. Ct. at 1549).)

        Whether alleging breach of contract—without actual damages—is enough to confer

standing is a close call. There is authority on both sides of the issue, but the court concludes that

Plaintiff has the better argument. The Supreme Court in Spokeo, 136 S. Ct. at 1549, wrote that


        4      In contrast, for a factual challenge, which questions whether a plaintiff actually has
standing even if the pleadings are sufficient, the court may look beyond the pleadings to determine
whether subject matter jurisdiction exists. Silha, 807 F.3d at 173.
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for a court engaging in standing analysis, “it is instructive to consider whether an alleged intangible

harm has a close relationship to a harm that has traditionally been regarded as providing a basis

for a lawsuit in English or American courts.” There is common law authority for the proposition

that a plaintiff may sue for breach of contract even where the breach resulted in no harm. See,

e.g., RESTATEMENT (FIRST) OF CONTRACTS ch. 12, topic 2, § 328 (AM. LAW INST. 1932) (“Where a

right of action for breach exists, but no harm was caused by the breach, . . . judgment will be given

for nominal damages, a small sum fixed without regard to the amount of harm.”); see also Spokeo,

136 S. Ct. at 1551 (Thomas, J., concurring) (“Historically, common-law courts possessed broad

power to adjudicate suits involving the alleged violation of private rights, even when plaintiffs

alleged only the violation of those rights and nothing more. . . . ‘Private rights’ have traditionally

included rights of personal security (including security of reputation), property rights, and contract

rights.”). After the parties submitted their briefs, however, the Supreme Court issued an opinion

in Thole holding that participants in a defined-benefit retirement plan, which the Court observed

is “in the nature of a contract,” lack standing to sue a plan manager for breach of fiduciary duties

because they had suffered no monetary injury. 140 S. Ct. at 1618, 1620. This could be construed

to mean that breach of contract, without monetary harm, does not confer standing. Indeed, that

appears to be how, in dissent, Justice Sotomayor interpreted that portion of the majority opinion.

See id. at 1630 (Sotomayor, J., dissenting). Thole concerned a cause of action under ERISA and

does not correctly control the analysis of the issue here.

       There is conflicting precedent, but the Seventh Circuit seems to have endorsed Plaintiff’s

standing theory. J.P. Morgan Chase Bank, 760 F.3d at 650–652, which Plaintiff cites, is on point.

In that case, the McDonalds, two customers of J.P. Morgan Chase Bank (“the Bank”), had filed

an arbitration demand against an affiliate of the Bank, J.P. Morgan Securities (“JPMS”), even

though the losses suffered by the McDonalds were in an account held with the Bank itself. Id. at

648–49. The McDonalds’ contract with JPMS required arbitration, but their agreement with the

Bank did not have such a provision and instead included a forum-selection clause that required

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that disputes be litigated in federal or state court. Id. at 649. The Bank sued to enforce the forum-

selection clause, and the Seventh Circuit held that the Bank had standing to enforce it:

       The McDonalds’ attempt to arbitrate appears to have violated the clause of their
       contract with the Bank, and the Bank’s claim of the violation is enough to give the
       Bank standing to bring this action to enforce the clause. Formation of a bilateral
       contract requires each party to take on one or more legally binding obligations in
       exchange for the other party doing the same. When one party fails to honor its
       commitments, the other party to the contract suffers a legal injury sufficient to
       create standing even where that party seems not to have incurred monetary loss
       or other concrete harm.

Id. at 650–51. True, J.P. Morgan Chase Bank was decided before Spokeo, 136 S. Ct. at 1548,

where the Court made clear that for an injury to satisfy the concreteness requirement, it “must

actually exist” and cannot be “abstract.” But Defendants have cited no post-Spokeo Seventh

Circuit case that revisits or is at odds with J.P. Morgan Chase Bank.

       The court acknowledges pre-Spokeo Seventh Circuit cases cited by the University that

are in some tension with J.P. Morgan Chase Bank, but finds those cases distinguishable. In Silha,

807 F.3d at 171, students sued administrators of the ACT and SAT tests because, even though

the plaintiffs had consented to the administrators sharing their personal information with

educational organizations, the administrators had not told the students that their information would

be sold. Among the claims asserted was an alleged breach of contract, but the Court of Appeals

concluded the plaintiffs lacked standing. Id. at 172, 174–75. In contrast with the case before this

court, where Mr. Dinerstein has adequately alleged the existence of a contract and identified the

terms he claims were breached, the well-pleaded factual allegations in Silha included neither. Id.

at 174–75. Indeed, in the district court, the Silha plaintiffs had not identified a contract breach as

one of their injuries. Silha v. ACT, Inc., No. 14 C 0505, 2014 WL 11370440, at *2 (N.D. Ill. Sept.

2, 2014).

       The University also relies on language from two Seventh Circuit data breach cases, but

these too are inapposite. In Remijas v. Neiman Marcus Grp., LLC, 794 F.3d 688, 692–94 (7th

Cir. 2015), plaintiffs, whose credit card numbers had been stolen when the defendant department

store’s servers were hacked, alleged that they had “overpaid for the products at Neiman Marcus
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because the store failed to invest in an adequate security system.” Id. at 694. The court found

these plaintiffs had standing—but not on the basis of plaintiffs’ overpayment theory. Instead, the

court noted other claims: that plaintiffs faced an increased risk of future fraudulent charges,

greater susceptibility to identity theft, and lost time and money expended to protect themselves

from future identity theft and fraudulent charges. The court did note that overpayment can

sometimes confer standing, but “many of those cases [in which overpayment claims conferred

standing] involve products liability claims against defective or dangerous products. Our case

would extend that idea from a particular product to the operation of the entire store . . . . This is a

step we need not, and do not, take in this case.” Id. at 695 (citation omitted). The Seventh Circuit

reiterated its skepticism about such a basis for standing in Lewert v. P.F. Chang’s China Bistro,

Inc., 819 F.3d 963, 968 (7th Cir. 2016) (citation omitted):

       Plaintiffs claim that the cost of their meals is an injury because they would not have
       dined at P.F. Chang’s had they known of its poor data security. As we noted in
       Remijas, such arguments have been adopted by courts only where the product
       itself was defective or dangerous and consumers claim they would not have bought
       it (or paid a premium for it) had they known of the defect. The plaintiffs here make
       no such allegations, and we are not inclined to push this theory beyond its current
       scope.

       The University argues that these two cases support the proposition that being denied the

benefit of his bargain is insufficient to confer standing on Plaintiff. (Univ. Reply Mem. in Supp. of

Mot. to Dismiss at 3.) As the University sees it, the theory rejected in Remijas and Lewert

concerned breaches of implied contract, which is no different from Mr. Dinerstein’s breach of

express contract theory. (Id. at 3 n.3.) But in those cases, the Seventh Circuit appeared to doubt

that the implied contract between the plaintiff patrons and defendant stores included a promise

that the stores would implement better information security practices. See Lewert, 819 F.3d at

968 (noting that the plaintiffs made no allegations that they would not have dined at P.F. Chang’s

had they known of their security practices). In this case, in contrast, Plaintiff alleges that the

University expressly made certain promises about privacy to Plaintiff, which he has alleged were

breached.

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       Out-of-circuit caselaw generally—albeit not universally—confirms this court’s view that

Plaintiff has standing to pursue his contract claims. See Springer v. Cleveland Clinic Emp. Health

Plan Total Care, 900 F.3d 284, 287 (6th Cir. 2018) (citations omitted) (“Like any private contract

claim, his injury does not depend on allegation of financial loss. His injury is that he was denied

the benefit of his bargain. . . . The injury therefore stemmed from traditional principles of contract

law that did not depend on financial harm.”); Kuhns v. Scottrade, Inc., 868 F.3d 711, 716 (8th Cir.

2017) (quoting Carlsen v. GameStop, Inc., 833 F.3d 903, 909 (8th Cir. 2016)) (“[A] party to a

breached contract has a judicially cognizable interest for standing purposes, regardless of the

merits of the breach alleged.”); In re Facebook Internet Tracking Litig., 263 F. Supp. 3d 836, 844

(N.D. Cal. 2017) (“Actual damages are not required to establish standing for contractual claims.”),

aff’d in part, rev’d in part, 956 F.3d 589 (9th Cir. 2020). But see Case v. Miami Beach Healthcare

Grp., Ltd., 166 F. Supp. 3d 1315, 1318–20 (S.D. Fla. 2016) (holding that plaintiff did not have

standing even though she alleged that the defendants “breached their contractual obligation to

protect her sensitive information”); Svenson v. Google Inc., No. 13 C 04080, 2016 WL 8943301,

at *10 (N.D. Cal. Dec. 21, 2016).

       In a footnote, the University has cited a number of cases in which courts dismissed cases

for lack of standing, but none of those cases considered claims of standing based on a breach of

contract theory. See Strautins v. Trustwave Holdings, Inc., 27 F. Supp. 3d 871, 879 (N.D. Ill.

2014); Fero v. Excellus Health Plan, Inc., 236 F. Supp. 3d 735, 754 (W.D.N.Y. 2017); Kahn v.

Children’s Nat’l Health Sys., 188 F. Supp. 3d 524, 533 (D. Md. 2016); In re Sci. Applications Int'l

Corp. (SAIC) Backup Tape Data Theft Litig., 45 F. Supp. 3d 14, 24–31 (D.D.C. 2014). In fact,

these were data breach cases where the courts rejected theories similar to the overpayment

theory considered by the Seventh Circuit in Remijas and Lewert, which the court has already

noted are not on point here. See Fero, 236 F. Supp. 3d at 754 (citation omitted) (“The Excellus

Defendants argue that Plaintiffs cannot establish injury-in-fact based on their alleged

overpayment for health insurance. The Court agrees.”); Kahn, 188 F. Supp. 3d at 533 (rejecting

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the plaintiff’s claim that she was deprived the full value of her bargain because she did “not allege

any facts showing that she overpaid for those services or that she would have sought those

services from another provider had she been aware of the hospital’s allegedly lax data security”);

SAIC, 45 F. Supp. 3d at 30 (“Plaintiffs have not alleged facts that show that the market value of

their insurance coverage (plus security services) was somehow less than what they paid. Nothing

in the Complaint makes a plausible case that Plaintiffs were cheated out of their premiums.”).

       The weight of authority supports the conclusion that Mr. Dinerstein’s allegation that the

University breached an express contract is sufficient for Article III standing purposes. Standing,

however, “‘is not dispensed in gross.’ To the contrary, ‘a plaintiff must demonstrate standing for

each claim he seeks to press and for each form of relief that is sought.’” Town of Chester, N.Y. v.

Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (citations omitted) (quoting Davis v. Fed.

Election Comm’n, 554 U.S. 724, 734 (2008)). Plaintiff therefore has standing to pursue his

contract claims, including his interference of contract claim against Google, 5 but the court will

review his other injuries independently to determine whether he has standing to pursue his

intrusion-upon-seclusion and ICFA claims.

       B.      Invasion of Privacy

       Second, Plaintiff contends that an invasion of his privacy is an injury in fact sufficient for

Article III standing. (See Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 6–8.) Specifically, Mr.

Dinerstein alleges that the University disclosed, at Google’s behest, his confidential medical

records. (Id. at 6.) Defendants assert that this injury is too abstract for Article III standing. (See,

e.g., Univ. Mem. in Supp. of Mot. to Dismiss at 7.) Here, too, there is mixed authority with little




       5       Neither Plaintiff nor Google clearly addressed whether, if Mr. Dinerstein has
standing to pursue his contract claims, he also has standing to pursue his tortious interference of
contract claim against Google. But the claims are so closely related that standing for the former
implies there is standing for the latter, at least in this case. See Hess v. Kanoski & Assocs.,
668 F.3d 446, 454 (7th Cir. 2012) (stating the elements of tortious interference claim in Illinois).

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clear appellate court guidance, but the court again finds Plaintiff’s position to be more persuasive,

at least for his common law intrusion-upon-seclusion claim. 6

       As noted in the court’s discussion of Spokeo, courts faced with standing challenges must

consider whether “the common law permitted suit in analogous circumstances.” Groshek v. Time

Warner Cable, Inc., 865 F.3d 884, 887 (7th Cir. 2017). Important for the present case, many

courts have observed that “[i]nvasion of privacy lawsuits are nothing new; at common law,

violations of the right to privacy have been recognized as a valid basis for suit.” Dixon v.

Washington & Jane Smith Cmty.–Beverly, No. 17 C 8033, 2018 WL 2445292, at *9 (N.D. Ill. May

31, 2018) (citing Cox Broad. Corp. v. Cohn, 420 U.S. 469, 488 (1975); Eichenberger v. ESPN,

Inc., 876 F.3d 979, 983 (9th Cir. 2017)); see also C.S. Wang & Assoc. v. Wells Fargo Bank, N.A.,

305 F. Supp. 3d 864, 880 (N.D. Ill. 2018) (“Invasion of privacy is actionable at common law.”).

“[T]he Supreme Court has noted that ‘both the common law and the literal understanding of

privacy encompass the individual’s control of information concerning his or her person.’”

Eichenberger, 876 F.3d at 983 (quoting U.S. Dep’t of Justice v. Reporters Comm. for Freedom of

the Press, 489 U.S. 749, 763 (1989)). In recognizing that “there is a common law tradition of

lawsuits for invasion of privacy,” the Eighth Circuit has stated that “the retention of information

lawfully obtained, without further disclosure, traditionally has not provided the basis for a lawsuit

in American courts.” Braitberg v. Charter Commc'ns, Inc., 836 F.3d 925, 930 (8th Cir. 2016).

That language implies that the common law would recognize suits where private information was

further disclosed.

       A recent Seventh Circuit case, not cited by the parties, is consistent with this

understanding. Bryant v. Compass Grp. USA, Inc., 958 F.3d 617, 619–20 (7th Cir. 2020), was a

suit brought under the Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1 et seq.,

where the plaintiff challenged use of fingerprints by the operator of “smart” vending machines,



       6     As discussed infra Part II.D, Plaintiff reframes his intrusion-upon-seclusion claim
as a common law breach of confidentiality claim. This does not affect the analysis provided here.
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installed in her employer’s cafeteria. The Seventh Circuit offered the following analysis regarding

the plaintiff’s Article III standing:

        Justice Thomas joined the majority’s opinion [in Spokeo], but he added a
        concurrence that drew a useful distinction between two types of injuries. The first,
        he said, arises when a private plaintiff asserts a violation of her own rights [which
        is permissible]; the second occurs when a private plaintiff seeks to vindicate public
        rights [which is not]. As examples of the first, he mentioned actions for trespass,
        infringement of intellectual property rights, and unjust enrichment; as examples of
        the second, he pointed to actions seeking to abate a public nuisance, or disputes
        over the use of public land.

        Applying Justice Thomas’s rubric, we have no trouble concluding that Bryant was
        asserting a violation of her own rights—her fingerprints, her private information—
        and that this is enough to show injury-in-fact without further tangible
        consequences. This was no bare procedural violation; it was an invasion of her
        private domain, much like an act of trespass would be.

Id. at 624 (citations omitted). Here, Mr. Dinerstein asserts the wrongful disclosure of his private

information—a violation of his own rights. “[T]his is enough to show injury-in-fact,” according to

the Seventh Circuit. Id.

        This case, of course, differs from Bryant and others cited above, which involved statutes

that created private rights of action. The two statutes relevant to this case—HIPAA and the Illinois’

Medical Patient Rights Act (“MPRA”), 410 ILCS 50/0.01 et seq.—do not provide a private right of

action, as Plaintiff acknowledges. (See Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 14.)

According to the Supreme Court, “because Congress is well positioned to identify intangible

harms that meet minimum Article III requirements, its judgment is also instructive and important.

Thus, we said in Lujan that Congress may ‘elevat[e] to the status of legally cognizable injuries

concrete, de facto injuries that were previously inadequate in law.’” Spokeo, 136 S. Ct. at 1549

(quoting Lujan, 504 U.S. at 578). Neither Congress nor the Illinois legislature has elevated

violations of HIPAA or the MPRA to the status of concrete, de facto injuries. A plaintiff does not

“automatically satisf[y] the injury-in-fact requirement whenever a statute grants a person a

statutory right and purports to authorize that person to sue to vindicate that right.” Id. But this

does not mean that a plaintiff cannot have standing—especially for a common law claim—in the

absence of such an express statutory right. See Browner v. Am. Eagle Bank, 355 F. Supp. 3d
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731, 735 (N.D. Ill. 2019) (“Spokeo counsels that in determining whether an intangible injury (as

this clearly is) causes injury in fact, the judgment of Congress is relevant but not determinative.”).

For those cases involving statutes, courts consider whether the alleged statutory violation results

in the type of harm that could be adjudicated by common law courts; conversely, no statute is

needed to establish standing for a common law claim. See Spokeo, 136 S. Ct. at 1551–52

(Thomas, J., concurring); see also, e.g., Browner, 355 F. Supp. 3d at 736 (discussing the common

law’s relation to the asserted claim (unauthorized access to plaintiff’s credit record) and stating

that “[h]istory in this instance leads to the same conclusion”—that the plaintiff’s claim bore “a

‘close relationship’ to a harm that has traditionally served as a basis for suit in English and

American courts”).

       This court concludes that for Plaintiff’s common law intrusion-upon-seclusion claim, an

invasion of Plaintiff’s privacy is an injury-in-fact that can support standing. See In re Facebook,

263 F. Supp. 3d at 843 (citations omitted) (“[A] plaintiff need not show actual loss to establish

standing for common-law claims of invasion of privacy and intrusion upon seclusion. The Court

finds that Plaintiffs’ alleged privacy violations are sufficient to establish standing for Plaintiffs’

privacy tort claims.”) True, other courts have denied standing for plaintiffs who alleged that their

personal information was wrongfully disclosed. See, e.g., Jackson v. Loews Hotels, Inc., No. ED

CV 18-827-DMG (JCx), 2019 WL 2619656, at *3–5 (C.D. Cal. Jan. 4, 2019). 7 But the court is

persuaded that Mr. Dinerstein has pleaded an injury in fact, in light of the common law tradition’s

recognition that an individual has standing to challenge an invasion of his privacy rights. See In

re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 598 (9th Cir. 2020) (finding that a violation

of the right to privacy is a concrete and particularized injury in fact); Browner, 355 F. Supp. 3d at

736 (“[A]n invasion of privacy is similar to the harm involved in the traditional tort of intrusion upon



        7       The University also cites Strautins, 27 F. Supp. 3d at 879–81. But in that case, the
plaintiff, who claimed to be the victim of a data breach, lacked standing because she had not
adequately alleged that her own personal information had been stolen. In this case, Plaintiff has
alleged (and, indeed, the DUA indicates) that the University disclosed his information to Google.
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seclusion which holds a person liable for intentionally intruding, physically or otherwise, upon the

solitude or seclusion of another or his private affairs.”); see also Bryant, 958 F.3d at 624 (holding

that the plaintiff had standing because the alleged injury “was an invasion of her private domain,

much like an act of trespass would be”). In short, the alleged invasion of Plaintiff’s privacy is an

injury in fact that can support his claim of intrusion upon seclusion.

        Defendants’ other arguments on this issue are unavailing. Both argue that this case differs

from those where courts recognized invasions of privacy as injuries in fact because of the nature

of the information disclosed. (Univ. Mem. in Supp. of Mot. to Dismiss at 6–8; Google Mem. in

Reply in Supp. of Mot. to Dismiss [70] at 4.) This contention has some basis: those cases

concerned stolen credit card information, Lewert, 819 F.3d at 965, secretly recorded phone calls,

C.S. Wang & Assoc., 305 F. Supp. 3d at 873, and biometric data such as fingerprints, Dixon, 2018

WL 2445292, at *1. While Plaintiff charges the University with disclosing de-identified information

such as patient demographics and diagnoses, as well as date stamps and free-text notes, Plaintiff

also claims this information was not sufficiently anonymized. (See AC ¶¶ 64–69.) For many

persons, disclosure of insufficiently anonymized health records is more invasive and disturbing

than disclosure of credit records or fingerprints. In any case, the court is skeptical that the gravity

of the information disclosed is what matters for standing; just as, for example, “trespass occurs

whenever property interest is invaded” and does not require actual damages, Chicago Title Land

Tr. Co. v. JS II, LLC, 2012 IL App (1st) 063420, ¶ 77, 977 N.E.2d 198, 218 (1st Dist. 2012), so

the invasion of Mr. Dinerstein’s privacy depends not on the magnitude of the harm but the fact

that this private right was invaded at all.

        Finally, Google contends that standing is not conferred by the risk that Google may

effectively re-identify the EHRs because it has access to other data. Were this the only injury

attributable to Google, the court would agree. See Clapper v. Amnesty Int'l USA, 568 U.S. 398,

410 (2013) (noting that “threatened injury must be certainly impending”). Yet Plaintiff has alleged

that his private information was improperly disclosed to Google, a party with whom he never

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authorized sharing his medical data, and that the University also disclosed this information at

Google’s behest. (See, e.g., AC ¶ 9. (“Ultimately, by getting the University to turn over these

records, Google quietly pulled off a feat that other tech giants (like Facebook) have had to

abandon under mounting public pressure for other gross privacy violations.”).) That is, Plaintiff

claims Google participated in the University’s invasion of his privacy, and its continued possession

of his information is part and parcel of the harm. This is enough of an injury for Plaintiff to assert

his intrusion-upon-seclusion claim against Google.

       C.      Value of EHRs

       Plaintiff’s third asserted concrete and particularized harm is the alleged theft of his medical

information, which he insists has commercial value and is something he has a legal interest in.

(See Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 9–10.) Plaintiff points to Lewert, 819 F.3d

at 968, for support, where the Seventh Circuit noted that the statute at issue in Sterk v. Redbox

Automated Retail, LLC, 770 F.3d 618, 623 (7th Cir. 2014), “creates a legally protected interest in

a consumer’s personally identifiable information with respect to video rentals.” Mr. Dinerstein

seems to suggest that the statutes at issue here—HIPAA and the MPRA—also create a legal

interest in his health information, just as the statute in Sterk did. But the court in Lewert, 819 F.3d

at 968, made clear that “Sterk does not recognize a legal interest in personally identifiable

information beyond the video-rental context.” Plaintiff has cited no authority supporting the

proposition that HIPAA or the MPRA creates a property interest in health data. Plaintiff also

contends, without citations, that the common law and the University’s contractual obligations also

establish his legal interest in his own medical information. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to

Dismiss at 9.) This assertion relies on little more than arguments the court has already addressed,

about whether invasion of privacy and breach of contract are injuries in fact. Mr. Dinerstein has

neither developed nor supported a separate argument that the common law or his contract

created a legal interest in his data.



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       Even if Mr. Dinerstein has a property interest in medical information, his allegations do not

support an inference that the value of that property has been diminished by the University’s or

Google’s actions. See Remijas, 794 F.3d at 695 (finding that the loss of personal information,

which the plaintiffs “characterize[d] as an intangible commodity,” did not support standing,

“particularly since the complaint does not suggest that the plaintiffs could sell their personal

information for value”); Welborn v. Internal Revenue Serv., 218 F. Supp. 3d 64, 78 (D.D.C. 2016)

(“Courts have routinely rejected the proposition that an individual’s personal identifying

information has an independent monetary value.”). Trying to circumvent this obstacle, Plaintiff

argues that even if his personal information suffered no diminution in value, he still has an injury

in the form of a lost royalty—that is, he suggests that Google or the University would have agreed

to pay him a royalty if they had negotiated in good faith for his medical records. (Pl.’s Mem. in

Opp’n to Defs.’ Mots. to Dismiss at 9–10.) In support, Mr. Dinerstein cites a patent case, Zegers

v. Zegers, Inc., 458 F.2d 726, 730 (7th Cir. 1972), and a case concerning the theft of proprietary

information, Vojdani v. Pharmasan Labs, Inc., 741 F.3d 777 (7th Cir. 2013). But the court agrees

with the University that these are inapposite because the aggrieved parties in those cases, unlike

Plaintiff, had recognized legal interests in the information in question. (See Univ. Reply Mem. in

Supp. of Mot. to Dismiss at 5 n.5.) Moreover, the Seventh Circuit foreclosed this theory in Silha,

807 F.3d at 174–75 (citation omitted), where it reasoned that “a plaintiff's claim of injury in fact

cannot be based solely on a defendant’s gain; it must be based on a plaintiff's loss.” 8 Here, as in

Silha, Plaintiff “ha[s] not alleged that [he] lost anything of value as a result of the alleged

misconduct.” Id. at 175.


       8        Plaintiff attempts to distinguish Silha because the plaintiffs in that case expressly
consented to the disclosure of their information. (See Pl.’s Mem. in Opp’n to Defs.’ Mots. to
Dismiss at 10 n.2.) But the portion of Silha cited above did not depend on that fact. Besides, the
Seventh Circuit’s statement that a defendant’s gain by itself does not support a plaintiff’s standing
was supported by court precedent, McNamara v. City of Chi., 138 F.3d 1219, 1221 (7th Cir. 1998)
(“A plaintiff who would have been no better off had the defendant refrained from the unlawful acts
of which the plaintiff is complaining does not have standing under Article III of the Constitution to
challenge those acts in a suit in federal court.”), and has been embraced by courts post-Silha,
see, e.g., Leung v. XPO Logistics, Inc., 164 F. Supp. 3d 1032, 1039 (N.D. Ill. 2015).
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                                                ***

       Plaintiff has pleaded two concrete and particularized injuries in fact to support his contract

and common law claims asserted against the University and Google. The other requirements for

Article III standing are met for those claims as well, because the alleged breach of contract and

invasion of privacy are fairly traceable to the University’s and Google’s conduct and could be

redressed by some of the relief that Mr. Dinerstein seeks.

       Plaintiff’s ICFA claim differs. A claim under that statute requires a showing of actual

damages, 815 ILCS 505/10a(a), which has been interpreted by state courts to refer only to

economic or pecuniary harm. See Kim v. Carter’s Inc., 598 F.3d 362, 365 (7th Cir. 2010) (quoting

Mulligan v. QVC, Inc., 382 Ill. App. 3d 620, 628, 888 N.E.2d 1190, 1197 (1st Dist. 2008)) (“The

actual damage element of a private ICFA action requires that the plaintiff suffer ‘actual pecuniary

loss.’”); Cooney v. Chicago Pub. Sch., 407 Ill. App. 3d 358, 365, 943 N.E.2d 23, 31 (1st Dist.

2010). Quoting a recent Seventh Circuit opinion, Mr. Dinerstein insists that the actual damages

requirement for an ICFA claim is satisfied wherever “a defendant’s deception ‘deprives the plaintiff

of “the benefit of her bargain.”’” (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 23 (quoting

Benson v. Fannie May Confection Brands, Inc., 944 F.3d 639, 647 (7th Cir. 2019)). Plaintiff’s

quotation from Benson stops there, but the language that that follows is significant: “Actual loss

may occur ‘if the seller’s deception deprives the plaintiff of “the benefit of her bargain” by causing

her to pay “more than the actual value of the property.”’” Benson, 944 F.3d at 647 (emphasis

added) (quoting Kim, 598 F.3d at 365). Plaintiff contends that had he known about the University’s

privacy practices, he may have gone to a different hospital or paid less for his treatment. But this

merely restates the overpayment theory that was rejected in Remijas, 794 F.3d at 694–95, and

Lewert, 819 F.3d at 968. Cf. Benson, 944 F.3d at 648 (dismissing under 12(b)(6) the plaintiffs’

claim that they would have paid less for a box of chocolates had they known there was so much

empty space in the box because they had not alleged the box was worth less than the price paid



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or that they could have obtained a better price elsewhere). Plaintiff’s ICFA claim (Count I) is

therefore dismissed.

II.       Failure to State a Claim upon which Relief Can Be Granted

          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the sufficiency

of the complaint, not the merits of the case. See, e.g., Bell v. City of Country Club Hills, 841 F.3d

713, 716 (7th Cir. 2016). To survive such a motion, the complaint must provide “a short and plain

statement of the claim showing that the pleader is entitled to relief,” FED. R. CIV. P. 8(a)(2),

sufficient to provide a defendant with “fair notice” of the claim and the basis for it. Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). In ruling on a Rule 12(b)(6) motion, the court accepts all

well-pleaded facts in a plaintiff’s complaint as true and views them in the light most favorable to

the plaintiff. See, e.g., Boucher v. Fin. Sys. of Green Bay, Inc., 880 F.3d 362, 365 (7th Cir. 2018).

Defendants argue that Plaintiff’s claims fail as a matter of law. As discussed here, the court

agrees.

          A.     Express Contract Claim

          “Under Illinois law, the elements of a breach of contract cause of action are ‘(1) offer and

acceptance, (2) consideration, (3) definite and certain terms, (4) performance by the plaintiff of all

required conditions, (5) breach, and (6) damages.” Ass’n Ben. Servs., Inc. v. Caremark RX, Inc.,

493 F.3d 841, 849 (7th Cir. 2007) (quoting MC Baldwin Fin. Co. v. DiMaggio, Rosario & Veraja,

LLC, 364 Ill. App. 3d 6, 14, 845 N.E.2d 22, 30 (1st Dist. 2006)). Three elements are at issue for

Mr. Dinerstein’s contract claim: whether he has pleaded that the University breached the contract,

whether the agreement was supported by valid consideration, and whether he has alleged

damages.

                 1.      Alleged Breaches

          Plaintiff asserts that the University’s disclosure of his medical information to Google

violated four terms of the contract: (1) that “all efforts” would be made to protect his privacy,

(2) that any use of his medical information would comply with federal law, (3) that any use of his

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medical information would comply with state law, and (4) that it would comply with the NPP. (AC

¶¶ 130–32; Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 11.)

                       a.      “All Efforts”

       To begin, the parties disagree about whether an “all efforts” or “best efforts” clause is

enforceable in Illinois. (Compare Univ. Mem. in Supp. of Mot. to Dismiss at 9, with Pl.’s Mem. in

Opp’n to Defs.’ Mots. to Dismiss at 15–16.) Having reviewed the case law on this question, the

court concludes that while Mr. Dinerstein is correct that Illinois courts have enforced all-efforts or

best-efforts clauses in certain circumstances, Res. Dealer Grp., Inc. v. Exec. Servs., Ltd., No. 97

C 4343, 1997 WL 790737, at *3 (N.D. Ill. Dec. 18, 1997) (“Illinois courts have enforced best efforts

clauses in a variety of contracts.”), this is not one of those circumstances.

       Wald v. Chicago Shippers Ass’n, 175 Ill. App. 3d 607, 529 N.E.2d 1138 (1st Dist. 1988),

is instructive. The Wald plaintiffs sued to enforce a clause in a contract that required the

defendant shipping association to use its best efforts to route the largest possible volume of freight

through the plaintiffs’ facilities. Id. at 610–14, 529 N.E.2d at 1140–43. That clause, the court

found, was “too indefinite to be enforceable” because it failed to set forth any specific terms

regarding, for example, the contract’s duration or the quantity of freight to be shipped through

those facilities. Id. at 617, 529 N.E.2d at 1145. No other part of the contract contained terms

clarifying this obligation, either. Id. Though the court noted that ambiguities in contracts may be

resolved by extrinsic evidence or prior course of dealings, such evidence did not effectively clarify

the “best efforts” clause. Id. at 618–20, 529 N.E.2d at 1146–47; see also Beraha v. Baxter Health

Care Corp., 956 F.2d 1436, 1441 (7th Cir. 1992) (holding that the defendant’s “statement that it

would ‘do [its] very best to make this project a success’ is merely a vague expression of goodwill;

it is not an enforceable contractual promise”); Penzell v. Taylor, 219 Ill. App. 3d 680, 688, 579

N.E.2d 956, 961 (1st Dist. 1991) (stating that “this court has held that the phrase ‘best efforts’ is

too indefinite and uncertain to be an enforceable standard” and finding that “[the counter-



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claimant’s] claim for breach of contract fails because the best effort required to be expended by

[the counter-defendant] is too vague to ascertain”).

       As in Wald, the “all efforts” language in the Authorization is too indefinite to enforce. It

does not include or refer to essential terms, such as what efforts the University was expected to

engage in. And no other parts of the contract provide terms that could be construed to supply the

definiteness necessary for this clause to be enforceable. Moreover, Mr. Dinerstein has not

pointed to any extrinsic evidence or other facts that would help the court determine what all efforts

is supposed to mean. Cf. Res. Dealer Grp., 1997 WL 790737, at *3–4 (declining to dismiss a

contract claim concerning “best efforts” language in a “detailed, nineteen page contract” where

that clause was one of “four separate and specific obligations that the parties intended [the

counter-defendant] to perform, not merely precatory language”).

       In the court’s view, Plaintiff’s “best efforts” claim is an odd fit in this context. When such

clauses are held to be enforceable, they are most typically used to impose affirmative obligations

in commercial contracts in which one party is obliged to promote the business of another. See,

e.g., id. at *3 (concerning a clause that required the plaintiff to use “best efforts” in marketing the

defendant’s business); Ralph v. Karr Mfg. Co., 20 Ill. App. 3d 450, 453–54, 314 N.E.2d 219, 221–

23 (1st Dist. 1974) (analyzing a clause that required the plaintiff to “put forth his best efforts and

to diligently provide the management of [the defendant’s] sales and marketing program and with

such efforts to increase [the defendant’s] sales”). In such cases, the party so obliged must

“diligently direct[ ] his efforts on [his counterparty’s] behalf.” Ralph, 20 Ill. App. 3d at 454, 314

N.E.2d at 222. Here, in contrast, Plaintiff does not claim that the University failed to take

appropriate affirmative actions to protect his privacy. He instead contends that the University’s

conduct actually violated his privacy.

       Plaintiff argues that a best-efforts clause is just an obligation to act in good faith and that

whether a party has acted in good faith is a question of fact. (Pl.’s Mem. in Opp’n to Defs.’ Mots.

to Dismiss at 16.) Plaintiff may well be technically correct about this, see, e.g., Coleman v.

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Madison Two Assocs., 307 Ill. App. 3d 570, 578, 718 N.E.2d 668, 674 (1st Dist. 1999), but the

argument is still inapt. “The obligation of good faith and fair dealing primarily is used to determine

the intent of the parties where a contract is susceptible to two conflicting constructions. Parties

to a contract are entitled to enforce the terms of the contract to the letter and an implied covenant

of good faith cannot override or modify the express terms of that contract.” Id., 718 N.E.2d at 675

(emphasis added) (citation omitted); see also M.S. Distrib. Co. v. Web Records, Inc., No. 00 C

1436, 2003 WL 21087961, at *9 (N.D. Ill. May 13, 2003) (the “best efforts undertaking . . . does

not form the basis for an independent cause of action”). The court does not read the Authorization

as permitting two conflicting constructions; indeed, Plaintiff advances no argument that it does.

And the Authorization expressly permits sharing Plaintiff’s medical information in at least some

circumstances. Plaintiff agreed that his “medical information in any form . . . may be used and

shared for research that has been approved by the University of Chicago Institutional Review

Board (IRB) and that has been found to pose a minimal risk.”              (Outpatient Agreement &

Authorization § III.) The Authorization also provides, immediately after the “all efforts” language,

that “any use of medical information will be in compliance with federal and state laws.” (Id.)

Notably, both HIPAA and the MPRA expressly permit disclosures of personal information in

certain contexts. See, e.g., 45 C.F.R. § 164.512 (identifying when protected health information

may be disclosed without written authorization); 410 ILCS 50/3(d)(8) (information may be

disclosed when “otherwise permitted, authorized, or required by State or federal law”).

       The court declines to interpret the phrase “all efforts” to impose some indefinite obligation

on the University that could conflict with other, more specific portions of the Authorization. See

Beraha, 956 F.2d at 1441 (“[Courts] do not lightly find implied obligations of any kind unless those

implied obligations serve to effect the clear intentions of the parties derived from the express

terms of the contract.”); Alberto-Culver Co. v. Aon Corp., 351 Ill. App. 3d 123, 135, 812 N.E.2d

369, 380 (1st Dist. 2004) (“Where an inconsistency arises between a clause that is general and

one that is more specific, the latter prevails.”).       Because the clause in question is not

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independently enforceable, there is no issue of fact to be resolved later in the proceedings.

Compare Res. Dealer Grp., 1997 WL 790737, at *4 (declining to dismiss a claim that one party

failed to use best efforts to market the other party’s services, concluding that the best efforts

clause was reasonably specific), with Wald, 175 Ill. App. 3d at 617, 529 N.E.2d at 1145 (finding

that the best effort clause “is ambiguous as a matter of law” and that “[i]ts terms are obscure and

indefinite in meaning”).

                         b.     Compliance with Federal Law

          Plaintiff asserts that the University’s disclosure of his medical information to Google

violated HIPAA and, therefore, breached the Authorization’s requirement that “any use of medical

information will be in compliance with federal . . . laws.” (Outpatient Agreement & Authorization

§ III.)

          An initial matter is whether an alleged violation of HIPAA can support a breach of contract

claim at all. The statute does not create a private right of action. See Carpenter v. Phillips, 419 F.

App’x 658, 659 (7th Cir. 2011). The University is correct that courts in other jurisdictions have

held that a HIPAA claim cannot be pursued as a breach of contract claim—that is, a contract claim

cannot be used to create a right of action that Congress declined to establish. See Brush v. Miami

Beach Healthcare Grp. Ltd., 238 F. Supp. 3d 1359, 1368 (S.D. Fla. 2017) (“Plaintiff cannot mask

a HIPAA claim as a breach of contract claim.”); Cairel v. Jessamine Cty. Fiscal Court, No. 5:15-

CV-186-JMH, 2015 WL 8967884, at *4 (E.D. Ky. Dec. 15, 2015) (“Plaintiff attempts to circumvent

the fact that no private right of action exists under HIPAA by characterizing her claim thereunder

as one for breach of contract. Regardless of whether the contract included a HIPAA provision,

there simply is no private right of action for violations of HIPAA, at the state or federal level.”);

Sheldon v. Kettering Health Network, 2015-Ohio-3268, ¶ 30, 40 N.E.3d 661, 674 (Ohio Ct. App.

2015) (“[T]o the extent that HIPAA universally has been held not to authorize a private right of

action, to permit HIPAA regulations to define per se the duty and liability for breach is no less than

a private action to enforce HIPAA, which is precluded.”). Those opinions, however, lack in-depth

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analysis of the issue and are not binding on this court; as discussed below, the court concludes

that HIPAA does not preempt a state common law claim like that asserted here by Mr. Dinerstein.

        The Seventh Circuit has dealt with similar issues with other statutes and found that the

fact that there is no right of action under a federal statute does not preempt or otherwise bar a

viable state law claim. Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 554–55 (7th Cir. 2012),

concerned several Illinois state law claims, including a contract claim, brought against the

plaintiff’s mortgage servicer, Wells Fargo, for violating the federal Home Affordable Mortgage

Program. Wells Fargo argued that the plaintiff should not be able to use a contract claim to make

an “end run” around the lack of a private right of action in the relevant federal law. The court

rejected this reasoning:

        The end-run theory is built on the novel assumption that where Congress does not
        create a private right of action for violation of a federal law, no right of action may
        exist under state law, either. . . . The absence of a private right of action from a
        federal statute provides no reason to dismiss a claim under a state law just
        because it refers to or incorporates some element of the federal law. To find
        otherwise would require adopting the novel presumption that where Congress
        provides no remedy under federal law, state law may not afford one in its stead.

Id. at 581 (citations omitted). In fact, “[w]hen the federal court’s jurisdiction over state-law claims

is based on diversity of citizenship . . . the absence of a private right of action in a federal statute

actually weighs against preemption.” Id. at 582 (emphasis in original); see also Pisciotta v. Old

Nat. Bancorp, 499 F.3d 629, 634 (7th Cir. 2007) (noting that in a case “invoking CAFA’s special

rules for diversity jurisdiction,” the court’s duty with respect to state law is the same “as in every

diversity case”). The Seventh Circuit considered a similar issue with respect to the Higher

Education Act and reached the same conclusion. Bible v. United Student Aid Funds, Inc., 799

F.3d 633, 652–54 (7th Cir. 2015) (holding that the lack of a private cause of action did not displace

the plaintiff’s contract claim and calling the defendant’s theory “mistaken at its core”). The logic

of Wigod and Bible applies here: that HIPAA lacks a private right of action does not foreclose

Plaintiff’s ability to pursue a contract claim.



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        HIPAA also does not preempt Plaintiff’s claim. See Wigod, 673 F.3d at 576–80 (finding

that the Home Owners Loan Act did not preempt a state law claim); Bible, 799 F.3d at 652

(determining that the plaintiff’s contract claim did not conflict with the Higher Education Act). The

University cites 42 U.S.C. § 1320d-5, which provides for enforcement by state attorneys general

and the Secretary of Health and Human Services, apparently to argue that HIPAA occupies the

field and thereby preempts a related contract claim. “In all preemption cases, ‘we start with the

assumption that the historic police powers of the States were not to be superseded by the Federal

Act unless that was the clear and manifest purpose of Congress.’” Wigod, 673 F.3d at 576

(quoting Wyeth v. Levine, 555 U.S. 555, 565 (2009)). The portions of the statute cited by the

University express no such clear and manifest purpose.

        Moreover, Plaintiff is correct that HIPAA addresses only conflict preemption. See 42

U.S.C. § 1320d-7(a)(1) (“. . . a provision or requirement under this part, or a standard or

implementation specification adopted or established under sections 1320d-1 through 1320d-3 of

this title, shall supersede any contrary provision of State law . . .”). Conflict preemption exists only

where (1) “it is impossible for a private party to comply with both state and federal requirements,”

or (2) “state law stands as an obstacle to the accomplishment and execution of the full purposes

and objectives of Congress.” Wigod, 673 F.3d at 577–78 (quoting Freightliner Corp. v. Myrick,

514 U.S. 280, 287 (1995)); see also 45 C.F.R. § 160.202 (defining “contrary” to mean “(1) A

covered entity or business associate would find it impossible to comply with both the State and

Federal requirements; or (2) The provision of State law stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of part C of title XI of the Act,

section 264 of Public Law 104–191, or sections 13400–13424 of Public Law 111–5, as

applicable.”). Neither clearly applies here, and the University offers no argument that Plaintiff’s

claim would make it impossible for it or other parties to comply with HIPAA or that such a claim

frustrates HIPAA’s object.     Furthermore, HIPAA regulations specifically provide that “more

stringent” state rules are not preempted, 45 C.F.R. § 160.203(b), and “more stringent” is defined

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to include a state law that “provides greater privacy protection for the individual who is the subject

of the individually identifiable health information,” § 160.202. A contract claim incorporating

HIPAA is such a “more stringent” measure and is thus not preempted by the federal statute.

       Now to the substance of the contract claim: Has Plaintiff actually pleaded that Defendants

breached the contract by violating HIPAA? Three parts of the HIPAA Privacy Rule are at issue

here. Two of these are safe harbors that permit the disclosure of medical information under

certain circumstances: First, a covered entity, such as the University, may disclose a “limited data

set” if it excludes certain direct identifiers; 9 is used for “research, public health, or health care

operations”; and the disclosure is made pursuant to a “data use agreement” that includes certain

provisions governing the use of the medical information. 10 45 C.F.R. § 164.514(e). Second, a

covered entity may disclose protected health information for research when approved by an

Institutional Review Board (“IRB”), whose documentation is subject to numerous other

requirements, so long as the recipient has made certain representations to the covered entity

about its use of the data. 45 C.F.R. § 164.512(i). Plaintiff has not pleaded that Defendants failed

to comply with the requirements of such regulations. Instead, he argues that he need not do so

at this stage because the safe harbors are affirmative defenses and Defendants’ compliance with


       9        Specifically, the following identifiers must be excluded from the limited data set:
“(i) Names; (ii) Postal address information, other than town or city, State, and zip code;
(iii) Telephone numbers; (iv) Fax numbers; (v) Electronic mail addresses; (vi) Social security
numbers; (vii) Medical record numbers; (viii) Health plan beneficiary numbers; (ix) Account
numbers; (x) Certificate/license numbers; (xi) Vehicle identifiers and serial numbers, including
license plate numbers; (xii) Device identifiers and serial numbers; (xiii) Web Universal Resource
Locators (URLs); (xiv) Internet Protocol (IP) address numbers; (xv) Biometric identifiers, including
finger and voice prints; and (xvi) Full face photographic images and any comparable images.” 45
C.F.R. § 164.514(e)(2).
       10      The data use agreement must provide that the recipient will: “(1) Not use or further
disclose the information other than as permitted by the data use agreement or as otherwise
required by law; (2) Use appropriate safeguards to prevent use or disclosure of the information
other than as provided for by the data use agreement; (3) Report to the covered entity any use or
disclosure of the information not provided for by its data use agreement of which it becomes
aware; (4) Ensure that any agents to whom it provides the limited data set agree to the same
restrictions and conditions that apply to the limited data set recipient with respect to such
information; and (5) Not identify the information or contact the individuals.” 45 C.F.R.
§ 164.514(e)(4)(ii)(C).
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their requirements can be determined only after discovery. (Pl.’s Mem. in Opp’n to Defs.’ Mots.

to Dismiss at 17.)

       The parties have devoted little attention to this procedural question; that is, they have

barely addressed whether a HIPAA regulation permitting disclosure is an affirmative defense,

which Defendants must prove, or an element of a violation that Mr. Dinerstein must establish. Nor

could the court find case law on this issue, likely owing to the fact that HIPAA does not have a

private right of action and thus has not generated private suits. Yet the court believes that

Defendants have the better view. Plaintiff’s claim is an action for breach of contract, and none of

the affirmative defenses to such a claim resemble the safe harbors that that Plaintiff asks the court

to recognize as defenses.      See Ill. Pattern Jury Instr.-Civ. 700.12 (affirmative defenses for

incompetence, duress, misrepresentation, fraud, frustration of purpose, impossibility of

performance, and undue influence). Moreover, the court agrees with Google that there is a

Twombly-like concern in Plaintiff’s pleading; his allegations are equally consistent with compliance

with HIPAA as with an alleged HIPAA violation. (Google Mem. in Reply in Supp. of Mot. to

Dismiss at 7.) In order to meet pleading standards, allegations must “plausibly suggest[ ]” a claim

for relief—not be “merely consistent with” one. Twombly, 550 U.S. at 557.

       Indeed, even reading his allegations as consistent with a violation, the amended complaint

also appears to “set forth everything necessary to satisfy the affirmative defense.” Hyson USA,

Inc. v. Hyson 2U, Ltd., 821 F.3d 935, 939 (7th Cir. 2016) (quoting United States v. Lewis, 411

F.3d 838, 842 (7th Cir. 2005)). As noted, § 164.514(e) permits a covered entity to disclose a

limited data set that has been stripped of certain identifiers listed in § 164.514(e)(2), so long as

the disclosure is made for research purposes, and the disclosure is made pursuant to a data use

agreement. Although Plaintiff has alleged that free text notes were not sufficiently anonymized

(AC ¶ 68), he never alleges that they, or any other part of the EHRs, included the identifiers that

are not allowed under this safe harbor. The amended complaint itself affirmatively asserts that

the disclosure was made for research. (Id. ¶¶ 4, 64.) And Plaintiff included with his amended

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complaint the DUA, which appears on its face to comply with the requirements in § 164.514(e)(4).

As for the second safe harbor, documents referenced in the pleading confirm that the disclosure

met those requirements as well. (Rajkomar et al., Scalable and Accurate Deep Learning at 6

(“Ethics review and institutional review boards approved the study with waiver of informed consent

or exemption at each institution.”).) With respect to these two safe harbors, Plaintiff has not

presented allegations “that raise[ ] a suggestion” of a HIPAA violation. Twombly, 550 U.S. at 557.

        The third relevant part of the Privacy Rule is more complicated. This component requires

written authorization for the “sale of protected health information.” 45 C.F.R. §§ 164.502(a)(5)(ii),

164.508(a)(4). Sales made pursuant to the research safe harbors discussed above are not

prohibited sales if “the only remuneration received by the covered entity . . . is a reasonable cost-

based fee to cover the cost to prepare and transmit the protected health information for such

purposes.” Id. § 164.502(a)(5)(ii)(B)(2)(ii). Putting “sale” and “remuneration” to the side for the

moment, the court must first consider whether Plaintiff has alleged that his protected health

information (“PHI”) was shared at all. The rule defines PHI to mean “individually identifiable health

information”—that is, health information “[t]hat identifies the individual” or “[w]ith respect to which

there is a reasonable basis to believe the information can be used to identify the individual.” Id.

§ 160.103. A covered entity like the University “may determine that health information is not

individually identifiable health information” in one of two ways. Id. § 164.514(b). An expert may

determine that the risk of re-identification is “very small” by applying “generally accepted statistical

and scientific principles and methods” and “[d]ocument[ing] the methods and results of the

analysis that justify such determination.” Id. § 164.514(b)(1). Alternatively, eighteen specific

identifiers can be removed from the data, including—critically—“[a]ll elements of dates (except

year) for dates directly related to an individual, including birth date, admission date, discharge

date, date of death.” Id. § 164.514(b)(2)(i) (emphasis added). Plaintiff alleges that an expert

determination concerning the risk of re-identification of his data either was not made or was

incorrect. (AC ¶ 70.) And of course, he has alleged (and the published study appears to confirm)

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that the data turned over to Google did include the dates on which services were provided. (Id.

¶ 64; Rajkomar et al., Scalable and Accurate Deep Learning at 6 (“dates of services were

maintained in the [University] data set”).)

         As for whether Mr. Dinerstein’s PHI was subject to a “sale,” his claim appears to be on

firm ground here as well. According to the rule, a sale of PHI means “a disclosure of protected

health information by a covered entity or business associate, if applicable, where the covered

entity or business associate directly or indirectly receives remuneration from or on behalf of the

recipient of the protected health information in exchange for the protected health information.” 45

C.F.R. § 164.502(a)(5)(ii)(B)(1) (emphasis added). The amended complaint asserts that the

University made the disclosure in exchange for a perpetual license to use Google’s software. (Id.

¶ 66.)    That assertion may overstate the DUA, which actually grants the University “a

nonexclusive, perpetual license to use the [ ] Trained Models and Predictions” created by Google

“for internal non-commercial research purposes.” (DUA § 3.12.) But it is not clear that this

distinction matters because even indirect compensation may be part of a sale. Moreover, other

parts of the rule confirm that “remuneration” includes in-kind exchanges: while a sale occurs when

a covered entity has directly or indirectly received remuneration, other sections specifically speak

of “financial remuneration” only. See id. §§ 164.501, 164.508(a). Whatever a perpetual license

for “Trained Models and Predictions” actually means, it appears to qualify as direct or indirect

remuneration. This form of remuneration is also not “a reasonable cost-based fee to cover the

cost to prepare and transmit the protected health information for such purposes,” which is the only

type of remuneration permitted for disclosures made pursuant to the two research safe harbors

analyzed above. Id. § 164.502(a)(5)(ii)(B)(2)(ii).

         The University’s arguments that Plaintiff has not pleaded that it engaged in an

impermissible sale are unsatisfying. The University notes that the amended complaint contains

no allegations about “a reasonable cost-based fee.” (Univ. Reply Mem. in Supp. of Mot. to

Dismiss at 7 n.9.) That is true, but it is also irrelevant; what matters is that the amended complaint

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has alleged that the University received something other than a reasonable cost-based fee, which

it plainly does. The University also notes that, in Black’s Law Dictionary, “sale” involves a payment

of money. (Id. at 9.) But the HIPAA regulation in question includes a broader definition of sale:

“a disclosure of [PHI] by a covered entity . . . where the covered entity . . . directly or indirectly

receives remuneration from or on behalf of the recipient of the [PHI] in exchange for the [PHI].”

45 C.F.R. § 164.502(a)(5)(ii)(B)(1). This definition controls, not the traditional one the University

cites. As already noted, other parts of the rule confirm that “remuneration” does not refer only to

payments of money. Lastly, the University emphasizes that its right to use the “Trained Models

and Predictions” developed by Google is limited to “internal non-commercial research purposes.”

(Univ. Reply Mem. in Supp. of Mot. to Dismiss at 9.) But it is not clear why such a limitation would

mean the license does not constitute direct or indirect remuneration.

       Google’s contentions on this point are no more compelling. Google notes that the DUA

“allows the University to share in the medical advancements that Google develops from the

research data,” which “confirms the primary purpose of the parties’ relationship—the mutual

exchange of research information.” (Google Mem. in Reply in Supp. of Mot. to Dismiss at 8.) Like

the University, however, Google fails to explain why this exchange of research information must

be understood to constitute a reasonable cost-based fee rather than direct or indirect

remuneration. Google also correctly notes that under the DUA, the University retains the right to

have the EHRs returned or destroyed by Google. (Id.) But again, “sale” refers to a disclosure of

protected health information made in exchange for direct or indirect remuneration. 45 C.F.R.

§ 164.502(a)(5)(ii)(B)(1). The court reads this provision to mean that the exchange can be a sale

even if the University retains ultimate ownership rights in the PHI; disclosure and remuneration

are the essential elements here. Plaintiff has sufficiently alleged both.

       In sum, Mr. Dinerstein has plausibly alleged that the University breached its contractual

promise to comply with federal law when it exchanged protected health information for the license

to use Trained Models and Predictions developed by Google.

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                       c.     Compliance with State Law

       Next, Plaintiff asserts that the University breached the promise to comply with state law. 11

(AC ¶ 132.) Specifically, Plaintiff alleges that the University violated § 3.1 of the MPRA. See 410

ILCS 50/3.1. That section states: “Any patient who is the subject of a research program or an

experimental procedure . . . shall have, at a minimum, the right to receive an explanation of the

nature and possible consequences of such research or experiment before the research or

experiment is conducted, and to consent to or reject it.” Id. § 3.1(a). The Hospital Licensing Act

regulations define “research program” to mean “any organized activity intended to establish new

medical or scientific information, involving medical, surgical, manipulative, or psychiatric

diagnosis or treatment of human subjects who are inpatients or outpatients of a hospital and who

are subjects at risk.” 77 Ill. Admin. Code § 250.130(b)(1)(B). And “subject at risk” refers to:

       any individual who may be exposed to the possibility of injury, including physical,
       psychological, or social injury, as a consequence of participation as a subject in
       any research, development, or related activity that significantly departs from the
       application of those established and accepted methods necessary to meet his or
       her needs, or that increases the ordinary risks of daily life, including the recognized
       risks inherent in a chosen occupation or field of service

Id. § 250.130(b)(1)(C).

       Plaintiff’s allegations do not establish a violation of these state law provisions. The

research conducted by the University and Google was not a research program as defined in the

above regulation. The project did concern the creation of “new medical or scientific information,”

but it did not “involve[e] medical, surgical, manipulative, or psychiatric diagnosis or treatment of

human subjects who are inpatients or outpatients of a hospital.” Id. § 250.130(b)(1)(B). Plaintiff

argues otherwise, noting that the study involved patient information like diagnoses and

procedures. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 19 (citing AC ¶ 65).) But the court



       11        As with HIPAA, Plaintiff acknowledges that the MPRA does not provide a private
right of action. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 14.) The University argues that
Plaintiff cannot use a contract claim to vindicate his rights under that statute. (Univ. Mem. in
Supp. of Mot. to Dismiss at 11.) Plaintiff offered no argument on this point, but because the court
concludes Plaintiff has not alleged a violation of MPRA, it need not address the issue further.
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does not read the phrase “involving . . . diagnosis or treatment of human subjects” to include

review of health records comprising information about diagnosis or treatment. That is, “research

program” refers only to the direct diagnosis or treatment of a patient, not research on records

concerning past diagnoses or treatments. Because Defendants’ study in question does not

qualify as a “research program” under the relevant regulation, 12 Plaintiff has not pleaded that the

University failed to comply with state law.

                       d.     Compliance with the Notice of Privacy Practices

       Finally, the Authorization states that “any use of [Plaintiff’s] medical information will be in

compliance with . . . the University of Chicago Medical Center Notice of Privacy Practices.”

(Outpatient Agreement & Authorization § III.) The NPP promises that the University would obtain

Plaintiff’s “written permission” “[f]or the sale of your medical information.” (NPP at 5.)         As

discussed in relation to HIPAA, Plaintiff contends that the University and Google engaged in a

sale of his medical information that violates the NPP and, therefore, the Authorization. (Pl.’s Mem.

in Opp’n to Defs.’ Mots. to Dismiss at 15, 18.)

       The parties spent little time discussing what this provision means in relation to the HIPAA

Privacy Rule’s prohibition on the sale of PHI. Should this section of the NPP be interpreted to be

consistent with, or more or less stringent than, the HIPAA Privacy Rule? On the one hand, the

NPP does not include any definition of “sale”; if the HIPAA Rule’s broad definition, which covers

disclosures in exchange for direct or indirect remuneration, does not apply, there may be no

violation of NPP. On the other hand, the NPP bans all sales; it makes no exceptions, as HIPAA

does, for sales in connection with research where the only consideration is a reasonable cost-

based fee. The NPP could therefore be understood as imposing a stricter requirement than the

HIPAA regulation. Indeed, were the NPP to be interpreted as merely consistent with preexisting

regulatory requirements, the Authorization’s statement that the University would comply with the



       12     The parties also disagree about whether Mr. Dinerstein was a “subject at risk.”
Again, the court need not reach the issue.
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NPP would be mere surplusage because the University also promises to comply with federal law

in the Authorization. See Premier Title Co. v. Donahue, 328 Ill. App. 3d 161, 166–67, 765 N.E.2d

513, 518 (2nd Dist. 2002) (noting the “principle that requires that a contract be construed such

that none of its terms are regarded as mere surplusage”). The court finds this latter view more

persuasive. Hence, as analyzed above with respect to the University’s compliance with federal

law, Plaintiff has plausibly alleged that his information was sold without his prior authorization in

violation of the NPP and, therefore, in breach of the Authorization.

               2.      Consideration

       Next, the University insists that the agreement with Plaintiff lacked consideration because

it obligated the University to do no more than comply with state and federal law, which are

preexisting duties. “As a general rule, a promise to perform an act which the promisor is already

bound to perform cannot constitute consideration to support an enforceable contract.” 17A AM.

JUR. 2D CONTRACTS § 149. That is, because the University is already obligated to comply with

HIPAA, any agreement promising to follow HIPAA lacks consideration. (See Univ. Mem. in Supp.

of Mot. to Dismiss at 10 (“[A]ny purported contractual obligation to comply with HIPAA (or to

comply with ‘federal and state law’) merely parrots a pre-existing legal duty and is therefore not

an enforceable contractual promise as a matter of law.”).) In response, Plaintiff contends that a

promisor under a preexisting duty still breaches a contract when it fails to comply with its promise;

the rule only precludes such a promisor from using its preexisting duty as consideration to extract

an enforceable promise from the promisee. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at

13.) In other words, as Plaintiff sees it, while the rule apparently could preclude the University

from enforcing the contract against him, it does not prevent him from asserting a breach of

contract claim against the University. There is some authority for this proposition. See, e.g., 17A

AM. JUR. 2D CONTRACTS § 149 (“Some authority holds that although a promise to do a thing that

the promisor is legally bound to do is not generally sufficient consideration to support a reciprocal

undertaking by the promisee, such promise may be enforced against the promisor,

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notwithstanding that its enforcement compels the performance of what is already a legal

obligation”); 3 WILLISTON ON CONTRACTS § 7:41 (4th ed.) (“[I]f A is under contract to B to do a

certain act, and C gives (and does not merely promise) A extra compensation in return for a

promise by A to do that act, A has on any theory made a binding contract with C, since C has

given valid consideration for A’s promise, and it is not necessary that A’s promise should be valid

consideration.”).

       Indeed, this is, again, an argument (this time, made by the University) that makes for an

odd fit in this case. Typically, the preexisting duty rule is raised by the party who claims its

obligations are excused because its opponent failed to give valid consideration. See, e.g., White

v. Vill. of Homewood, 256 Ill. App. 3d 354, 357, 628 N.E.2d 616, 618 (1st Dist. 1993) (citations

omitted) (“The pre-existing duty rule provides that where a party does what it is already legally

obligated to do, there is no consideration as there is no detriment. For example, where a guest

was by statute entitled to use a hotel safe to store valuables, a promise by the guest to limit the

liability of the hotel in exchange for using the safe is not supported by consideration because of

the pre-existing duty rule.”). There is, however, Illinois case law suggesting that a preexisting

duty means that a contractual promise to carry out that duty may not be challenged as a breach

of contract. See, e.g., Marque Medicos Fullerton, LLC v. Zurich Am. Ins. Co., 2017 IL App (1st)

160756, ¶ 67, 83 N.E.3d 1027, 1044 (1st Dist. 2017) (citation omitted) (“Plaintiffs’ own complaints

therefore concede that defendants’ purported consideration for any asserted implied-in-fact

contracts was to be performed pursuant to preexisting legal duties. Because valid consideration,

on the part of both parties, is one of the essential requirements for the formation of a contract,

and because consideration cannot flow from an act performed pursuant to preexisting legal duty,

the circuit court properly dismissed plaintiffs’ claims that that defendants breached an implied-in-

fact contracts to comply with the interest provision of section 8.2(d)(3) of the Act.”).

       Regardless, the court agrees with Mr. Dinerstein that there was consideration for this

contract because the contract requires the University to meet a higher standard than simply

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meeting its preexisting duty to comply with the law. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss

at 14.) As noted above, the NPP’s provision regarding the sale of a patient’s medical information

appears more stringent than the rule regarding sales in HIPAA’s regulations because the NPP

makes no exception for sales related to research made in exchange only for a reasonable cost-

based fee. A court in this district has previously held that a defendant’s privacy pledge was

enforceable because, although it pledged to comply with federal law, it also “contain[ed] other

provisions unrelated to Defendant’s compliance with federal law.” Dolmage v. Combined Ins. Co.

of Am., No. 14 C 3809, 2016 WL 754731, at *9 (N.D. Ill. Feb. 23, 2016); see also, e.g., In re:

Premera Blue Cross Customer Data Sec. Breach Litig., No. 3:15-MD-2633-SI, 2017 WL 539578,

at *17 (D. Or. Feb. 9, 2017) (“Premera’s argument, however, overlooks Plaintiffs’ allegations that

include promises other than compliance with HIPAA, such as promises that Premera will restrict

access to Plaintiffs’ Sensitive Information and will train and discipline employees.”).

       The cases the University cites are distinguishable. In re Banner Health Data Breach Litig.,

No. CV-16-02696-PHX-SRB, 2017 WL 6763548, at *4 (D. Ariz. Dec. 20, 2017), held that a

contract lacked consideration because the defendant’s privacy notice “cannot be read as a

promise to do anything above and beyond what is already required by law.” Here, in contrast, the

NPP’s provision mandating that the University obtain written permission before selling Plaintiff’s

PHI did not merely restate HIPAA’s requirements. For the same reason, another opinion the

University cites, in which the privacy notice merely “inform[ed] patients of their rights under federal

law” and thus was “not contractual in nature,” is distinguishable as well. Brush, 238 F. Supp. 3d

at 1367.

       The University’s other arguments are also unpersuasive. Citing Brush, 238 F. Supp 3d at

1367, the University insists that even if had made “extra-statutory promises,” the pre-existing duty

rule would still bar a contract claim based on noncompliance with HIPAA. (Univ. Reply Mem. in

Supp. of Mot. to Dismiss at 8.) But Brush says no such thing; there, the court held that the contract

lacked consideration and did not consider whether the plaintiff could pursue a contract claim if the

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privacy notice had included extra-statutory promises. The University is correct that other parts of

the parties’ agreement, such as the “all efforts” clause, may not be enough to find valid

consideration.    Yet it is incorrect that the NPP’s representation that it would obtain written

authorization before selling Plaintiff’s PHI merely arises under HIPAA, as already explained.

       Because at least part of the University’s promises to Plaintiff went beyond its obligations

under federal law, the Authorization, which incorporated the NPP, was supported by valid

consideration.

                 3.    Damages

       As discussed above the court has concluded that Plaintiff’s allegations state a claim for

breach of a contract that was supported by consideration. Has he plausibly alleged that this

breach caused him damages? In the amended complaint, Plaintiff alleges that he has suffered

non-economic damages, such as anxiety and emotional distress. (AC ¶ 136.) His response to

Defendants’ motions does not characterize these harms as part of his contract damages,

however. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 19–21). As the University notes,

Illinois does not recognize emotional distress damages for breaches of contract, “except where

the breach was wanton or reckless and caused bodily harm, or where defendant had reason to

know, when the contract was made, that its breach would cause mental suffering for reasons

other than mere pecuniary loss.” Parks v. Wells Fargo Home Mortg., Inc., 398 F.3d 937, 940–41

(7th Cir. 2005) (quoting Maere v. Churchill, 116 Ill. App. 3d 939, 944, 452 N.E.2d 694, 697 (3d

Dist. 1983)). Plaintiff has not pleaded that the University’s conduct meets that standard.

       As for money damages, the Authorization contained the following provision in which

Plaintiff disclaimed the right to receive compensation from the University’s research: “I

acknowledge that such research by the University of Chicago Medical Center may have

commercial value and, in that event, I understand that I will not be entitled to any compensation,

regardless of the value of such research or any products or inventions developed therefrom.”



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(Outpatient Agreement & Authorization § III.) The University argues that this provision bars his

claim for economics damages. (Univ. Mem. in Supp. of Mot. to Dismiss at 12.)

        Plaintiff responds that the University cannot take advantage of that provision because

Illinois courts have said that “[a] party who materially breaches a contract cannot take advantage

of the terms of the contract that benefit him.” James v. Lifeline Mobile Medics, 341 Ill. App. 3d

451, 455, 792 N.E.2d 461, 464 (4th Dist. 2003). For its part, the University argues that Plaintiff

has not pleaded that the University’s breach was a material one. See InsureOne Indep. Ins.

Agency, LLC v. Hallberg, 2012 IL App (1st) 092385, ¶ 43, 976 N.E.2d 1014, 1027 (1st Dist. 2012)

(citation omitted) (quoting Vill. of Fox Lake v. Aetna Cas. & Sur. Co., 178 Ill. App. 3d 887, 900–

01, 534 N.E.2d 133 (2d Dist. 1989)) (“The test of whether a breach is ‘material’ is whether it is ‘so

substantial and fundamental as to defeat the objects of the parties in making the agreement, or

whether the failure to perform renders performance of the rest of the contract different in

substance from the original agreement.’ ‘The breach must be so material and important to justify

the injured party in regarding the whole transaction at an end.’”) The University may be right that

its exchange of Plaintiff’s PHI for Trained Models and Predictions for internal non-commercial

research purposes was not a material breach and that it substantially performed its contract with

Plaintiff. Nevertheless, according to Illinois law, “[t]he determination of what constitutes a material

breach is a question of fact which involves a fairly detailed inquiry, which should be left for the

trial.” Enter. Warehousing Sols., Inc. v. Capital One Servs., Inc., No. 01 C 7725, 2002 WL 406976,

at *3 (N.D. Ill. Mar. 15, 2002).

        For pleading purposes, the court will therefore assume Plaintiff has alleged a material

breach on the part of the University. The court concludes the claim nevertheless fails for another

reason: none of his theories for money damages is adequate. He asserts that he is entitled to

“restitution on the basis that he did not receive the full benefits of his payments to the University.”

(Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 20.) At most, this allegation suggests that some

indeterminate amount of the price he paid for his treatments represents the cost of the University’s

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privacy practices. This court agrees with others that have found such allegations to be insufficient.

See Attias v. CareFirst, Inc., 365 F. Supp. 3d 1, 13 (D.D.C. 2019) (citations and quotation marks

omitted) (rejecting the plaintiffs’ theory that they had been denied the benefit of their bargain by

“broadly alleg[ing] that some indeterminate amount of their health insurance premiums went

towards providing data security” and “alleg[ing] only in a conclusory fashion that the services they

received were of a diminished value”); SAIC, 45 F. Supp. 3d at 30 (“To the extent that Plaintiffs

claim that some indeterminate part of their premiums went toward paying for security measures,

such a claim is too flimsy to support standing. . . . Plaintiffs have not alleged facts that show that

the market value of their insurance coverage (plus security services) was somehow less than

what they paid. Nothing in the Complaint makes a plausible case that Plaintiffs were cheated out

of their premiums.”). Furthermore, an Illinois appellate court has said (albeit in an unpublished,

nonprecedential opinion) that the “‘overpayment’ theory of damages is not a cognizable measure

of a breach of contract damages in Illinois.” Lozada v. Advocate Health & Hosps. Corp., 2018 IL

App (1st) 180320-U, ¶ 32 (1st Dist. 2018). And the Seventh Circuit has repeatedly held this same

overpayment theory is not a sufficient injury even for standing purposes. See Lewert, 819 F.3d

at 968; Remijas, 794 F.3d at 694.

       Alternatively, Mr. Dinerstein claims that the University owes him a reasonable royalty for

the use of his PHI. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 21.) For the reasons

discussed in its standing analysis, the court disagrees. A royalty is normally appropriate only for

interference with a property right. See, e.g., RESTATEMENT (THIRD) OF RESTITUTION AND UNJUST

ENRICHMENT § 42 cmt. f (AM. LAW INST. 2011) (emphasis added) (“In the context of intellectual

property, what is ‘taken’ is often an unauthorized use; the value of the use may often be

determined—depending on the nature of the property—by a reasonable royalty or by the market

price of a license.”). And Plaintiff has not plausibly alleged that he has any such right in his PHI.

See Remijas, 794 F.3d at 695 (rejecting the plaintiffs’ argument that federal law recognizes a

property right in their private information). That is why his reliance on Vojdani, 741 F.3d at 784–

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86, a Seventh Circuit case applying Wisconsin law, is misplaced.            In that case, the court

suggested that a reasonable royalty could be a remedy for the breach of a confidentiality

agreement.     Id. at 786.     But Vojdani concerned intellectual property, unlike this case.

Furthermore, in Vojdani, the stolen confidential information had been “used by the defendant for

its own commercial purposes,” id., while the University received only a license to use Trained

Models and Predictions for internal non-commercial research purposes. Finally, Plaintiff has not

cited, nor did the court find, any Illinois cases in which a reasonable royalty was awarded or

considered an appropriate remedy for breach of contract. Cf. Innovation Ventures, LLC v. Custom

Nutrition Labs., LLC, 912 F.3d 316, 346 (6th Cir. 2018) (“[The plaintiff] does not, however, cite

any Michigan cases, federal cases applying Michigan law, or even secondary sources that

contemplate using a reasonable royalty to calculate damages in breach of contract cases.”). And

the only state statute authorizing the award of a reasonable royalty is the Illinois Trade Secrets

Act, 765 ILCS 1065/4, which is not pertinent here and illustrates that this remedy is available only

for intellectual property disputes.

       Plaintiff has not adequately pleaded that the University’s breach of contract caused him

economic damages. His theories in support of his claim for money damages are inadequate.

Because Mr. Dinerstein has not pleaded that the University’s breach caused him economic

damage, his express contract claim (Count II) is dismissed for failure to state a claim for relief.

       B.      Implied Contract Claim

       As an alternative to his express breach of contract claim, Mr. Dinerstein asserts a claim

against the University for breaching an implied contract to keep his medical information private.

(AC ¶ 139.) In Illinois, the elements of an implied contract “substantially overlap” with those of an

express contract. Landale Signs & Neon, Ltd. v. Runnion Equip. Co., 274 F. Supp. 3d 787, 792

(N.D. Ill. 2017); New v. Verizon Commc’ns, Inc., 635 F. Supp. 2d 773, 782–83 (N.D. Ill. 2008) (“In

Illinois, in order to prove an implied contract the party asserting the contract must show the same

elements as an express contract, as well as a meeting of the minds and a mutual intent to

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contract.”). The implied contract claim was barely mentioned in the parties’ briefs, 13 and for good

reason: “an implied contract cannot coexist with an express contract on the same subject.”

Marcatante v. City of Chi., 657 F.3d 433, 440 (7th Cir. 2011) (quoting Maness v. Santa Fe Park

Enters., Inc., 298 Ill. App. 3d 1014, 1022, 700 N.E.2d 194, 201 (1st Dist. 1998)). An express

contract governing Plaintiff’s medical information existed between him and the University; indeed,

Plaintiff alleges that the terms of the implied contract are the promises in the NPP and

Authorization (see AC ¶ 139)—which are the terms of the express contract. And the damages

Plaintiff alleges he suffered as a result of the University’s breach of the implied contract are the

same damages claimed for breach of the express contract, which the court already found to be

inadequate. (Id. ¶¶ 148–50.) The implied contract claim (Count III) is therefore dismissed.

       C.      Tortious Interference Claim

       “To state a claim for tortious interference with contract, [Plaintiff] must allege enough facts

to establish: ‘(1) a valid contract, (2) defendant’s knowledge of the contract, (3) defendant’s

intentional and unjustified inducement of a breach of contract, (4) a subsequent breach of contract

caused by defendant’s wrongful conduct, and (5) damages.” Gen. Elec. Co. v. Uptake Techs.,

Inc., 394 F. Supp. 3d 815, 834 (N.D. Ill. 2019) (quoting Webb v. Frawley, 906 F.3d 569, 577 (7th

Cir. 2018)). The parties have not addressed the question whether Plaintiff may pursue this claim

absent an adequate claim for damages for breach of contract. But the court need not address

the issue, as it concludes he has not sufficiently pleaded that Google engaged in the intentional

conduct needed to state a tortious interference claim.

       “A necessary prerequisite to the maintenance of an action for tortious interference with

contract is a defendant's intentional and unjustified inducement of a breach of contract.” Illinois

Bell Tel. Co. v. Plote, Inc., 334 Ill. App. 3d 796, 806, 778 N.E.2d 1203, 1211 (1st Dist. 2002)

(quoting Strosberg v. Brauvin Realty Servs., Inc., 295 Ill. App. 3d 17, 33, 691 N.E.2d 834, 845


       13      Plaintiff’s argument that an implied contract exists because of the fiduciary
relationship between him and the University, his medical provider, appears only in a footnote.
(Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 26–27 n.9.)
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(1st Dist. 1998)). That is, Plaintiff must plead that Google “intentionally caused” the University to

breach its contract or that Google “intended to cause [Plaintiff] harm.” Id. (emphasis in original).

He has not done so. Instead, Mr. Dinerstein merely states that “Google intentionally and without

justification interfered with the University’s contracts with its patients.”     (AC ¶ 157.)     Such

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Nor is Plaintiff’s

allegation that Google had “actual or constructive knowledge of Plaintiff’s and the Class members’

contracts” adequate to plead that Google intended to induce the University’s breach of contract.

(AC ¶ 156.) Undermining any inference that could be made about intentionality is the fact that

the University specifically represented to Google in the DUA that it had “the right to disclose the

[PHI] . . . and is in compliance with applicable laws and regulations.” (DUA § 2.2.)

       Plaintiff does not respond to these issues in his brief. In a footnote, he argues only that

his tortious interference claim does not require pleading wrongful or malicious intent. (Pl.’s Mem.

in Opp’n to Defs.’ Mots. to Dismiss at 11 n.4.) That is true, but it does not obviate the need to

plead intent at all. See Illinois Bell Tel., 334 Ill. App. 3d at 806, 778 N.E.2d at 1211 (citation

omitted) (while a plaintiff “does not need to prove that the defendant’s conduct was malicious or

unjustified unless that defendant’s conduct was privileged,” the plaintiff is still “required to plead

that [the defendant] acted intentionally”). “The essential thing is the purpose to cause the result.”

RESTATEMENT (FIRST) OF TORTS § 766 cmt. d (AM. LAW INST. 1939). Because Plaintiff has not

pleaded that Google acted with such a purpose, this claim (Count IV) is dismissed.

       D.      Intrusion upon Seclusion / Breach of Confidentiality

       Next, Plaintiff asserts a common law claim for intrusion upon seclusion against both

Defendants because of the University’s disclosure and Google’s receipt of his PHI. (AC ¶¶ 161–

64.) The Illinois Supreme Court has explained that “the core of this tort is the offensive prying

into the private domain of another” and that “[t]he basis of the tort is not publication or publicity.”

Lovgren v. Citizens First Nat. Bank of Princeton, 126 Ill. 2d 411, 417, 534 N.E.2d 987, 989 (1989).

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Examples of such “offensive prying” are “invading someone’s home; an illegal search of

someone’s shopping bag in a store; eavesdropping by wiretapping; peering into the windows of

a private home; and persistent and unwanted telephone calls.” Id. The “intrusion” that Plaintiff

alleges took place here is unlike these examples. In fact, a court in this district has held that such

disclosures of private personal information “do[ ] not support a claim for unauthorized intrusion.”

In re Trans Union Corp. Privacy Litig., 326 F. Supp. 2d 893, 902 (N.D. Ill. 2004).

       Likely recognizing that this case law forecloses his ability to pursue this claim, Mr.

Dinerstein abandons his intrusion-upon-seclusion theory in his brief and tries to reframe it as a

breach-of-confidentiality tort. (Pl.’s Mem. in Opp’n to Defs.’ Mots. to Dismiss at 24.) There is a

consensus among many state courts, he argues, that a common law cause of action for breach

of confidentiality exists for the unauthorized disclosure of a patient’s medical information. (Id.) In

fact, a number of state courts have recognized such a tort. See, e.g., Lawson v. Halpern-Reiss,

212 A.3d 1213, 1217–18 (Vt. 2019); Byrne v. Avery Ctr. for Obstetrics & Gynecology, P.C., 175

A.3d 1, 15 (Conn. 2018). Illinois courts have not, as Plaintiff acknowledges. He instead invites

this court to recognize such a cause of action, but the court declines the invitation.

       Courts sitting in diversity and facing an unsettled state law question are tasked with

predicting how the Illinois Supreme Court would decide the issue. Cmty. Bank of Trenton v.

Schnuck Markets, Inc., 887 F.3d 803, 811 (7th Cir. 2018) (citing Erie R.R. Co. v. Tompkins, 304

U.S. 64 (1938)). Yet the Seventh Circuit “consistently ha[s] held that ‘it is not our role to break

new ground in state law.’” Sabrina Roppo v. Travelers Commercial Ins. Co., 869 F.3d 568, 596

(7th Cir. 2017) (quoting Lopardo v. Fleming Cos., Inc., 97 F.3d 921, 930 (7th Cir. 1996)). None

of Plaintiff’s arguments persuade the court to ignore this counsel. First, Plaintiff notes that the

Seventh Circuit has said, “When state law on a question is unclear, which is surely the proper

characterization here, the best guess is that the state’s highest court, should it ever be presented

with the issues, will line up with the majority of the states.” Vigortone AG Prods., Inc. v. PM AG

Prods., Inc., 316 F.3d 641, 644 (7th Cir. 2002). But Plaintiff has not shown that this tort is the

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majority rule; indeed, he refers to it only as a “general consensus.” (Pl.’s Mem. in Opp’n to Defs.’

Mots. to Dismiss at 25.) Second, he cites an Illinois appellate court opinion from 1986—Petrillo

v. Syntex Labs., Inc., 148 Ill. App. 3d 581, 499 N.E.2d 952 (1st Dist. 1986)—as evidence that

Illinois courts would recognize the breach of confidentiality claim in question. Though the opinion

includes some language on “the confidential and fiduciary relationship existing between a patient

and his physician,” id. at 587, 499 N.E.2d at 957, the case concerned a defense lawyer who had

been found in contempt because of his ex parte communications with the plaintiff’s physician. Id.

at 585, 499 N.E.2d at 955. Petrillo is inapposite and, considering it is more than three decades

old, provides little evidence for what the Illinois Supreme Court would do today. As such, it is

unlikely that Illinois would recognize the breach of confidentiality tort. Plaintiff has not stated an

intrusion-on-seclusion claim, and the court declines to recognize a cause of action for breach of

confidentiality. Count V is dismissed.

       E.      Unjust Enrichment

       Finally, Plaintiff’s unjust enrichment claims are dismissed as well. “Unjust enrichment is

not a separate cause of action under Illinois law.” Horist v. Sudler & Co., 941 F.3d 274, 281 (7th

Cir. 2019). “[I]f an unjust enrichment claim rests on the same improper conduct alleged in another

claim, then the unjust enrichment claim will be tied to this related claim—and, of course, unjust

enrichment will stand or fall with the related claim.” Cleary v. Philip Morris Inc., 656 F.3d 511, 517

(7th Cir. 2011). Plaintiff acknowledges that his unjust enrichment claims depend on the other

theories he asserted against the University and Google. (See Pl.’s Mem. in Opp’n to Defs.’ Mots.

to Dismiss at 10 n.3.) Because Plaintiff’s other claims have been dismissed, so should his unjust

enrichment claims. Counts VI and VII are dismissed.

                                          CONCLUSION

       For the reasons stated above, the court grants Defendant University’s and Defendant

Google’s motions to dismiss [43, 45] Plaintiff Matt Dinerstein’s amended class action complaint

[42] pursuant to Rule 12(b)(6). The court also dismisses as moot the University’s motion to strike

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class allegations [49]. Plaintiff has leave to file an amended complaint, if any, on or before

October 15, 2020.

                                           ENTER:




Dated: September 4, 2020                   _________________________________________
                                           REBECCA R. PALLMEYER
                                           United States District Judge




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